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W/D Gi- -i§MPlls
Plaintift
vs.
cR. No. 05-20132-0
DAle ALAle
Defendant.

 

**AMENDED ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF
EXCLUDABLE DELAY AND SETTlNG

 

This cause is scheduled for a report date on July 21, 2005. Counse| for the
defendant filed a motion seeking a continuance due to the unavailability of a flight caused
by the severe weather conditions associated with Hurricane Emily .

The Court granted the motion and reset the trial date to **October 3, 2005 with a

report date of Thursda\{l **Segtember 22l 2005l at 9:00 a.m., in Courtroom 3 9th F|oor
of the Federa| Bui|ding, Memphis, TN.

 

The period from August 12, 2005 through **October14, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a speedy tria|.

|T lS SO ORDERED this< 2 day of August, 2005.
»";7

   
 
   

B RN|CE B. D NALD
UN|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet in compliance
with Flu|e 55 and/orBZ(b) FFlCrP on 5 'g 13

 

 

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This notice confirms a copy of the document docketed as number 34 in
case 2:05-CR-20132 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

